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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

               CASE NO.: 07-23323-CIV-ALTONAGA-TURNOFF

  MORTON LUCOFF,

        Plaintiff,

  vs.

  GC SERVICES LIMITED PARTNERSHIP,

       Defendant.
  ________________________________________/

         JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

        COME NOW, the Parties herein, by and through their undersigned counsel,

  and will represent to the Court that this matter has been amicably settled, and would

  request entry of a Final Order of Dismissal With Prejudice in this matter, with each

  party to bear their own costs and attorneys’ fees.

        DATED this 26th day of February, 2008.


  /s Donald A. Yarbrough, Esquire               /s Ernest H. Kohlmyer, III
  DONALD A. YARBROUGH                          ERNEST H. KOHLMYER, III
  Florida Bar No. 0158658                      Florida Bar No. 0110108
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                                               GC Services Limited Partnership
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                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been
  filed electronically with the Southern District of Florida and that a true and correct
  copy of the foregoing, along with a copy of the electronic receipt has been furnished
  to: Donald A. Yarborough, Esquire, P.O. Box 11842, Fort Lauderdale, Florida 33339
  (donyarbrough@mindspring.com), Plaintiff ,and Joel D. Lucoff, Esquire, 12925
  Southwest 30 Street, Miramar, Florida 33027-5307 (jdlucoff@adelphia.net),
  Attorney for Plaintiff, via U.S. Mail on this 26th day of February, 2008.

                                          /s/ Ernest H. Kohlmyer, III

                                         Ernest H. Kohlmyer, III, Esquire
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